 Case 2:17-cv-06172-MWF-PJW Document 1 Filed 08/21/17 Page 1 of 62 Page ID #:1



 1 CONTI LAW
   Alexander L. Conti, Bar No. 155945
 2 23 Corporate Plaza, Suite 150

 3 Newport Beach, CA 92660
   Tel: (949) 791-8555
 4 Fax: (949) 791-8556
   Email: aconti@conti-law.com
 5

 6
     Attorneys for Defendants,
     Rural Community Hospitals of America and Paul L. Nusbaum.
 7

 8

 9
10                            UNITED STATES DISTRICT COURT

11                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

12

13   Jack Eskenazi, an individual doing       Case No. 2:17-cv-6172
     business as American Health Care
14   Capital,
15               Plaintiff,
16
                 v.
17                                              NOTICE OF REMOVAL OF ACTION
     Rural Community Hospitals of America, a UNDER 28 U.S.C. §1441(b)
18   business entity, type unknown; Empower DIVERSITY
     Healthcare LLC, a Florida Limited
19   Liability Company; Rural Health Partners,
20   LLC, a Florida Limited Lability
     Company; Paul L. Nusbaum, an
21   individual, Jorge A. Perez, an individual,
     and Does 1 - 50,
22

23
                 Defendants.

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                                     NOTICE OF REMOVAL
 Case 2:17-cv-06172-MWF-PJW Document 1 Filed 08/21/17 Page 2 of 62 Page ID #:2



1    TO THE CLERK OF THE ABOVE-ENTITLED COURT:
2          PLEASE TAKE NOTICE that defendants Rural Community Hospitals of
3    America and Paul L. Nusbaum hereby remove the state court action described below.
4          1.    On June 29, 2017, an action was commenced in the Superior Court of the
5    State of California in and for the County of Los Angeles entitled Jack Eskenazi dba
6    American Health Care Capital v. Rural Community Hospitals of America, Empower
7    Healthcare, LLC, Rural Health Partners, LLC, Paul L. Nusbaum and Jorge A. Perez,
8    Case No. BC666270. A copy of the complaint is attached hereto as exhibit “A”.
9          2.    Defendant was served with a copy of summons and said complaint on July
10   27, 2017. Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc. (1999) 526 U.S. 344,
11   347–48 (“[W]e hold that a named defendant's time to remove is triggered by
12   simultaneous service of the summons and complaint, or receipt of the complaint,
13   “through service or otherwise,” after and apart from service of the summons, but not by
14   mere receipt of the complaint unattended by any formal service.”) A copy of the
15   summons is attached hereto as exhibit “B”.
16         3.    A copy of the remaining contents of the state court file is attached as
17   exhibit “C”, including the following:
18               (i)     civil case cover sheet and addendum;
19               (ii)    proof of service of summons;
20               (iii)   proof of service of summons;
21               (iv)    notice of case management conference;
22               (v)     proof of service of summons;
23               (vi)    proof of service of summons.
24         4.    The action is a civil action of which this Court has original jurisdiction
25   under 28 U.S.C. § 1332, and is one which may be removed to the Court by defendant
26   pursuant to the provisions of 28 U.S.C. §1441(b) in that it is a civil action between
27   citizens of different states and the matter in controversy exceeds the sum of $75,000,
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                                       NOTICE OF REMOVAL
 Case 2:17-cv-06172-MWF-PJW Document 1 Filed 08/21/17 Page 3 of 62 Page ID #:3



 1   exclusive of interest and costs, because the complaint alleges that plaintiff has been
 2   damaged in the sum of $10,000,000. [See Cmplt. at pg. 11.]
 3         5.    Complete diversity of citizenship exists in that:
 4               • Plaintiff Jack Eskenazi, dba American Heath Care Capital, is a natural
 5                   person who is a resident of the State of California. [See Cmplt. at pg. 2,
 6                   lines 10-11.]
 7               • Defendant Rural Community Hospitals of America is a limited liability
 8                   corporation organized and existing under the laws of the State of West
 9                   Virginia with its principal place of business in the State of Missouri.
10               • Defendant Empower Healthcare, LLC is a Florida limited liability
11                   company with its principal place of business in the State of Florida.
12               • Defendant Rural Health Partners, LLC is a Florida limited liability
13                   company with its principal place of business in the State of Florida.
14               • Defendant Paul L. Nusbaum is a resident of and domiciled in the State
15                   of West Virginia.
16               • Defendant Jorge A. Perez is a resident of and domiciled in the State of
17                   Florida.
18      6. Defendants Empower Healthcare, LLC, Rural Health Partners, LLC and Jorge A.
19   Perez join in this removal as set forth in the Joinder in Notice of Removal of Action, a
20   copy of which is attached as exhibit “D”.
21         Respectfully submitted,
22
     Dated: August 20, 2017                 CONTI LAW
23

24
                                                     Alexander L. C onti
25                                          By: /s/
                                                ALEXANDER L. CONTI
26                                              Attorneys for Defendants,
                                                Rural Community Hospitals of America and
27                                              Paul L. Nusbaum
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                                         NOTICE OF REMOVAL
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                                                        EXHIBIT D
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1 CONTI LAW
  Alexander L. Conti, Bar No. 155945
2 23 Corporate Plaza, Suite 150

3 Newport Beach, CA 92660
  Tel: (949) 791-8555
4 Fax: (949) 791-8556
  Email: aconti@conti-law.com
5

6
     Attorneys for Defendants,
     Rural Community Hospitals of America and Paul L. Nusbaum.
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9

10                            UNITED STATES DISTRICT COURT

11                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

12

13   Jack Eskenazi, an individual doing         Case No.
     business as American Health Care
14   Capital,
15               Plaintiff,
16
                 v.
17                                              JOINDER IN NOTICE OF REMOVAL
     Rural Community Hospitals of America, a OF ACTION
18   business entity, type unknown; Empower
     Healthcare LLC, a Florida Limited
19   Liability Company; Rural Health Partners,
20   LLC, a Florida Limited Lability
     Company; Paul L. Nusbaum, an
21   individual, Jorge A. Perez, an individual,
     and Does 1 - 50,
22

23
                 Defendants.

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                                 JOINDER IN NOTICE OF REMOVAL
Case 2:17-cv-06172-MWF-PJW Document 1 Filed 08/21/17 Page 61 of 62 Page ID #:61



1    TO THE CLERK OF THE ABOVE-ENTITLED COURT:
2          PLEASE TAKE NOTICE that defendants Empower Healthcare, LLC, Rural
3    Health Partners, LLC and Jorge A. Perez, by their signatures below, hereby join in
4    Rural Community Hospitals of America’s and Paul L. Nusbaum’s Notice of Removal of
5    the state court action described in the said Notice of Removal.
6

7
     Dated: August 17, 2017                 By: /s/______________________
8                                                  Empower Healthcare, LLC
                                                   By its managing member
9                                                  Jorge A. Perez
10

11
     Dated: August 17, 2017                 By: /s/______________________
12                                                 Rural Health Partners, LLC
                                                   By its managing member
13                                                 Jorge A. Perez
14

15
     Dated: August 17, 2017                 By: /s/______________________
16                                                 Jorge A. Perez
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                                  JOINDER IN NOTICE OF REMOVAL
Case 2:17-cv-06172-MWF-PJW Document 1 Filed 08/21/17 Page 62 of 62 Page ID #:62



1                                           PROOF OF SERVICE

2
             I am employed in the County of Orange, State of California. I am over the age of 18 and not a
3    party to the within action; my business address is 23 Corporate Plaza, Suite 150, Newport Beach, CA
     926. On August 21, 2017, I served the foregoing document described as: NOTICE OF REMOVAL
4    OF ACTION UNDER 28 U.S.C. §1441(b) DIVERSITY on the following person(s) who is/are
     counsel in this case for plaintiff Votum Staffing, Inc. in the manner indicated:
5
     Jonathan Mark Levitan
6    Law Offices of Jonathan Mark Levitan
     11620 Wilshire Blvd, Ste 900
7    Los Angeles, CA 90025
     Email: jonathanlevitan@aol.com
8
     [ X ] (BY MAIL) I am familiar with the practice of Conti Law for collection and processing of
9    correspondence for mailing with the United States Postal Service. Correspondence so collected and
     processed is deposited with the United States Postal Service that same day in the ordinary course of
10   business. On this date, a copy of said document was placed in a sealed envelope, with postage fully
     prepaid, addressed as set forth herein, and such envelope was placed for collection and mailing at
11   Conti Law, Newport Beach, California, following ordinary business practices.

12   [ ]    (BY OVERNIGHT MAIL) I am familiar with the practice of Conti Law for collection and
     processing of correspondence for delivery by overnight courier. Correspondence so collected and
13   processed is deposited in a box or other facility regularly maintained by FedEx/Overnite Express that
     same day in the ordinary course of business. On this date, a copy of said document was placed in a
14   sealed envelope designated by FedEx/Overnite Express with delivery fees paid or provided for,
     addressed as set forth herein, and such envelope was placed for delivery by FedEx/Overnite Express at
15   Conti Law, Newport Beach, California, following ordinary business practices.

16   [ ] (BY FACSIMILE TRANSMISSION) On this date, at the time indicated on the transmittal
     sheet, attached hereto, I transmitted from a facsimile transmission machine, which telephone number is
17   (949) 791-8556, the document described above and an unsigned copy of this declaration to the person,
     and at the facsimile transmission telephone numbers, set forth herein. The above-described
18   transmission was reported as complete and without error by a properly issued transmission report
     issued by the facsimile transmission machine upon which the said transmission was made immediately
19   following the transmission.

20   [ x ] (BY ELECTRONIC MAIL) On this date, from my email address of aconti@conti-law.com I
     caused a copy of said document to be transmitted via electronic mail to the e-mail addresses listed
21   above.

22   [ ] (BY MESSENGER SERVICE) I served the documents by placing them in an envelope or
     package addressed to the person at the addresses listed above and/or providing them to a professional
23   messenger service for service. [Declaration of Messenger attached separately.]

24           I declare under penalty of perjury under the laws of the State of California that the foregoing
     is true and correct, and that this declaration was executed on August 21, 2017, at Newport
25   Beach, California.

26                                                                     Alexander L. C onti
                                                                /s/_____________________________
27                                                              Alexander L. Conti

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                                                    -3-
                                            NOTICE OF REMOVAL
